                                                                 Case 1:03-md-01570-GBD-SN                                               Document
                                                                                                                                              EXHIBIT A
                                                                                                                                                        10818-2                            Filed 03/28/25                      Page 1 of 1
                                                                                                                                                          SOLATIUM




           Personal Representative                                   Claimant                                                                9/11 Decedent                                                         Claim Information                                         Solatium Damages

                   Mid               Suffi                                                      Nationality                                                Nationality   Date of    9/11                                                                                    Documen    Prior
       First                Last                 First      Middle              Last     Suffix                  First      Middle          Last    Suffix                                  Case            Complaint           Amendments & Substitutions     Relationship                         Amount
                   dle                x                                                           on 9/11                                                    on 9/11      Death     Site                                                                                     tation   Award
 1                                           Joseph      Theodore    Afflitto            Sr.    U.S.          Daniel     Thomas        Afflitto     Sr.    U.S.          9/11/2001 NY        9903                              1:15-cv-09903, 676, at 2       Parent                            $ 8,500,000.00
 2                                           Scott       David       Beck                       U.S.          Lawrence   Ira           Beck                U.S.          9/11/2001 NY        9903                              1:15-cv-09903, 948, at 1       Sibling                           $ 4,250,000.00
 3                                           Grant       James       Bilcher                    U.S.          Brian                    Bilcher             U.S.          9/11/2001 NY        9903                              1:15-cv-09903, 948, at 2       Child                             $ 8,500,000.00
 4                                           Tina        Marie       Bilcher                    U.S.          Brian                    Bilcher             U.S.          9/11/2001 NY        9903 1:15-cv-09903, 53, at 583                                   Spouse                            $ 12,500,000.00

 5                                           Laura       Mary        Bilcher-Steffesen         U.S.           Brian                    Bilcher               U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 3       Sibling                           $   4,250,000.00
 6                                           Laverne                 Booker                    U.S.           Sean                     Booker                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 4       Sibling                           $   4,250,000.00
 7                                           Sonya                   Booker                    U.S.           Sean                     Booker                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 5       Sibling                           $   4,250,000.00
 8                                           Stacey      Marie       Booker                    U.S.           Sean                     Booker                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 6       Sibling                           $   4,250,000.00
 9                                           Keith                   King                      U.S.           Sean                     Booker                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 7       Sibling                           $   4,250,000.00
                                                                                               Dominican                                                                                                                       1:03-md-01570, 10252, at 70,
10 Mauricio              Chevalier           Zeneida     Mercedes    Chevalier                 Republic       Nestor     Julio         Chevalier    Jr.      U.S.        9/11/2001 NY        9903 1:15-cv-09903, 53, at 2766   10256                          Parent                            $ 8,500,000.00
11                                           Russell     Blaise      Connors                   U.S.           Kevin      P.            Connors               U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 891, at 1       Sibling                           $ 4,250,000.00
12                                           Lauren      Coombs      Murphy                    U.S.           Jeffrey    W.            Coombs                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 8       Sibling                           $ 4,250,000.00
13                                           Jenna       Marie       DeAngelis                 U.S.           Robert     Joseph        DeAngelis             U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 9       Child                             $ 8,500,000.00
14                                           Joan        Marie       DeAngelis                 U.S.           Robert     Joseph        DeAngelis             U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 10      Sibling                           $ 4,250,000.00
15                                           Lisa        Ann         DeAngelis                 U.S.           Robert     Joseph        DeAngelis             U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 11      Child                             $ 8,500,000.00
16                                           Paul                    DeAngelis                 U.S.           Robert     Joseph        DeAngelis             U.S.        9/11/2001 NY        9903 1:15-cv-09903, 53, at 461                                   Sibling                           $ 4,250,000.00
17                                           Mary        Elizabeth   Platek                    U.S.           Robert     Joseph        DeAngelis             U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 12      Sibling                           $ 4,250,000.00
18                                           Michael     David       Fiedel                    U.S.           Kristen    Nicole        Fiedel                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 13      Sibling                           $ 4,250,000.00
19                                           Ainsley     Laurents    Gilligan                  U.S.           Ronald     L.            Gilligan              U.K.        9/11/2001 NY        9903                              1:15-cv-09903, 950, at 1       Child                             $ 8,500,000.00
20                                           Allyson     Mae         Easterling                U.S.           Robert     Allan         Hepburn               U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 14      Child                             $ 8,500,000.00
21                                           Jennifer    Lee         Hall                      U.S.           Robert     Allan         Hepburn               U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 15      Child                             $ 8,500,000.00
22                                           Theresa     Lynn        Hepburn                   U.S.           Robert     Allan         Hepburn               U.S.        9/11/2001 NY        9903 1:15-cv-09903, 53, at 2158                                  Spouse                            $ 12,500,000.00
23                                           Cody        Nicole      Clare                     U.S.           Timothy                  Higgins               U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 16      Child                             $ 8,500,000.00
24                                           Catie       Ryan        Rollins                   U.S.           Timothy                  Higgins               U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 17      Child                             $ 8,500,000.00
25                                           Diane       Lorraine    Hunt                      U.S.           William    Christopher   Hunt                  U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 18      Parent                            $ 8,500,000.00
26                                           John        Edward      Manley              Jr.   U.S.           Sara       Elizabeth     Manley                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 19      Sibling                           $ 4,250,000.00
27                                           May-Lis     Anne        Manley                    U.S.           Sara       Elizabeth     Manley                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 20      Sibling                           $ 4,250,000.00
28                                           Anna        Marie       Bocchino                  U.S.           Edward     Frank         Pullis                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 891, at 2       Sibling                           $ 4,250,000.00
29                                           Josephine   Anne        Pullis                    U.S.           Edward     Frank         Pullis                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 21      Sibling                           $ 4,250,000.00
30                                           Tina        Gaetana     Pullis                    U.S.           Edward     Frank         Pullis                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 22      Parent                            $ 8,500,000.00
                                                                                                                                                                                                                               1:03-md-01570, 10785, at 3,
31 Dominic        J.     Puopolo     Sr.     Dominic     J.          Puopolo             Jr.   U.S.           Sonia      Morales       Puopolo               U.S.        9/11/2001 NY        9903 1:15-cv-09903, 53, at 3472   10791                          Child                             $   8,500,000.00
32                                           Janine      Ashley      Birt                      U.S.           Angela     Susan         Scheinberg            U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 23      Child                             $   8,500,000.00
33                                           Bradley     Blakeslee   Bullis                    U.S.           Dianne     Bullis        Snyder                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 24      Sibling                           $   4,250,000.00
34                                           John        Andrew      Bullis                    U.S.           Dianne     Bullis        Snyder                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 948, at 25      Sibling                           $   4,250,000.00
35                                           Elizabeth   Frances     Bullis-Wiese              U.S.           Dianne     Bullis        Snyder                U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 949, at 1       Sibling                           $   4,250,000.00
                                                                                                                                                                                                                               1:03-md-01570, 10730, at 20,
36 Jacqueline            Pickering           Maureen                 Pickering                 U.S.           Joann                    Tabeek                U.S.        9/11/2001 NY        9903 1:15-cv-09903, 53, at 565    10759                          Sibling                           $   4,250,000.00
                                                                                                                                                                                                                               1:03-md-01570, 10730, at 21,
37 Susan                 Tighe               Timothy                 Tighe                     U.S.           Stephen    Edward        Tighe                 U.S.        9/11/2001 NY        9903 1:15-cv-09903, 53, at 1341   10759                          Sibling                           $   4,250,000.00
38                                           Paige       Jenna       Tipaldi                   U.S.           Robert     Frank         Tipaldi               U.S.        9/11/2001 NY        9903                              1:15-cv-09903, 949, at 2       Sibling                           $   4,250,000.00




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